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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

              Plaintiff,
                                   v.                   09-CR-55A(Sr)

GLANCE ROSS,

           Defendant.
_____________________________________


                     REPORT, RECOMMENDATION AND ORDER

              This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with Title 28, United States Code, Section 636(b)(1), for all pretrial

matters and to hear and report upon dispositive motions. Dkt. #11.



              The defendant, Glance Ross, was charged in three counts of a six count

Indictment returned against eight defendants with having violated Title 21, United

States Code, Section 841, Title 21, United States Code, Section 846 and Title 18,

United States Code, Section 1956. Dkt. #1. Defendant Ross also faces a forfeiture

count (Count 5), pursuant to Title 21, United States Code, Sections 853(a)(1) and

853(a)(2).



              Presently pending before this Court is defendant Ross’ motion to

suppress evidence obtained pursuant to electronic surveillance. Dkt. #102.

For the following reasons it is recommended that the motion be denied.
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Necessity

              The defendant argues that the government’s success in employing normal

investigative procedures rendered electronic surveillance unnecessary. Dkt. #102, p.3.

More specifically, the defendant states that:

              confidential informants had provided real time evidence of
              criminal activity; the sources’ information was corroborated
              by controlled purchases; purchases were documented by
              eye witness testimony by the agents and consensual
              recordings; prior electronic surveillance had identified
              members of the conspiracy and their means of operation.
              Thus by the time that Glance Ross’s phones were
              wiretapped there was no longer any need for electronic
              surveillance. As a result the wiretap orders did not comply
              with the restrictions of Title III of the Omnibus Crime Control
              and Safe Streets Act of 1968 (Title III), 18 U.S.C. §§ 2510-
              2522 because the government failed to establish that the
              alternative investigative techniques employed had been
              unsuccessful or were unlikely to succeed in uncovering the
              full extent of the defendant’s criminal activities.

Dkt. #102, pp.32-33.



              The government responds that the applications in support of the

electronic surveillance orders explain the limitations of confidential sources and physical

surveillance in developing evidence against the defendant and other known and then

unknown members of the narcotics conspiracy and afforded a proper basis on which to

conclude that electronic surveillance was proper. Dkt. #122, pp.21-22.



              As an initial matter, the Court rejects the government’s argument that

defendant lacks standing to raise this issue. Dkt. #122, pp.15-18. As a target of the

intercept order and an individual whose voice is alleged to be heard on intercepted

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communications, defendant is an aggrieved person pursuant to 18 U.S.C.

§ 2518(10)(a). See 18 U.S.C. § 2510(11) (defining aggrieved person as “a person who

was a party to any intercepted wire, oral, or electronic communication or a person

against whom the interception was directed.”).



                 18 U.S.C. § 2518(1)(c) requires that each application for an order

authorizing or approving the interception of a wire, oral, or electronic communication

shall include:

                 a full and complete statement as to whether or not other
                 investigative procedures have been tried and failed or why
                 they reasonably appear to be unlikely to succeed if tried or
                 to be too dangerous.


                 The affidavit of Special Agent Reynolds of the FBI seeking continued

authorization for the continued interception of wire communications over a cellular

telephone number known to be utilized by defendant Glance Ross describes in great

detail the history of the investigation to date and information obtained based on prior

wiretap orders issued by various district judges in this district, use of confidential

informants, and physical surveillance. Dkt. #102-2. Special Agent Reynolds also

explains that normal investigative techniques have been unsuccessful, or appear

unlikely to succeed in identifying the full scope and nature of the illegal activities, or are

too dangerous to employ. Dkt. #102-2. For example, Special Agent Reynolds informs

the Court that confidential sources have been unable to purchase cocaine from other

suspected members of the drug conspiracy, and how the suspected members of the



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drug conspiracy, including defendant Ross, evaded and even confronted physical

surveillance by law enforcement.



              Basically, the defendant is requesting a review of Judge Skretny’s

decision in issuing the Intercept Orders. The role of this Court in conducting such a

review is no different than that conducted by a court of appeals and therefore, the

admonition of the Second Circuit Court of Appeals is appropriately applied in this

process wherein the Court stated:

              “In reviewing a ruling on a motion to suppress wiretap
              evidence, we accord deference to the district court.” Miller,
              116 F.3d at 663 (quoting Torres, 901 F.2d at 231). Our role
              in reviewing the issuance of a wiretap order is not to make a
              de novo determination of the sufficiency of the application,
              “but to decide if the facts set forth in the application were
              minimally adequate to support the determination that was
              made.” Id.

United States v. Diaz, 176 F.3d 52, 109 (2d Cir.), cert. denied by Rivera v. United

States, 528 U.S. 875 (1999).



              Since the holding in United States v. Torres, 901 F.2d 205 (2d Cir.), cert.

denied 498 U.S. 906 (1990), addresses the issues raised by the defendants herein on

the issue of whether 18 U.S.C. § 2518(1)(c) was complied with, it is worthwhile to

sacrifice brevity and set forth that Court’s ruling in detail:

              Section 2518(1)(c) requires that an application for such an
              interception shall include “a full and complete statement as
              to whether or not other investigative procedures have been
              tried and failed or why they reasonably appear to be unlikely
              to succeed if tried or to be too dangerous. . . .” Similarly,
              section 2518(3)(c) requires the judge to whom an application
              for a wiretap is made to determine, as a condition of

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        authorizing the tap, that “normal investigative procedures
        have been tried and have failed or reasonably appear to be
        unlikely to succeed if tried or to be too dangerous. . . .”

        The application for the wiretap in this case was based upon
        a thirty-six page affidavit by DEA agent Timothy J. Sullivan
        dated May 27, 1987. Flores contends that when the
        application for a wiretap was made, traditional law
        enforcement methods had already achieved “extraordinary
        success . . . in penetrating the deepest reaches of the
        Torres Organization,” and that the “affidavit utterly failed to
        establish, even on a superficial level, that less intrusive
        techniques had not been successful and could not be
        successful.” In advancing this position, Flores points out
        that our decision in United States v. Lilla, 699 F.2d 99 (2d
        Cir. 1983), precludes the authorization of wiretaps based
        upon “generalized and conclusory statements that other
        investigative procedures would prove unsuccessful,” id. at
        104. Flores also argues that it does not suffice to show that
        a case belongs to some general class of cases which
        require wiretap investigation, citing United States v.
        Kalustian, 529 F.2d 585, 589 (9th Cir. 1975) (gambling case).

        We are unpersuaded, and conclude that the application in
        this case provided a sufficient basis for authorizing the
        Flores wiretap. Section 2518 “is simply designed to assure
        that wiretapping is not resorted to in situations where
        traditional investigative techniques would suffice to expose
        the crime.” United States v. Kahn, 415 U.S. 143, 153 n. 12,
        94 S.Ct. 977, 983 n. 12, 39 L.Ed.2d 225 (1974). As we have
        stated:

           “[T]he purpose of the statutory requirements is not to
           preclude resort to electronic surveillance until after all
           other possible means of investigation have been
           exhausted by investigative agents; rather, they only
           require that the agents inform the authorizing judicial
           officer of the nature and progress of the investigation
           and of the difficulties inherent in the use of normal law
           enforcement methods.”

        United States v. Vazquez, 605 F.2d 1269, 1282 (2d Cir.
        1979) (quoting United States v. Hinton, 543 F.2d 1002, 1011
        (2d Cir.), cert. denied, 429 U.S. 980, 97 S.Ct. 493, 50
        L.Ed.2d 589 (1976)), cert. denied, 444 U.S. 981, 100 S.Ct.
        484, 62 L.Ed.2d 408 (1979), 1019, 100 S.Ct. 674, 62

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             L.Ed.2d 649 (1980); see also United States v. Fury, 554
             F.2d 522, 530 (2d Cir), cert. denied, 433 U.S. 910, 97 S.Ct.
             2978, 53 L.Ed.2d 1095 (1977).

             The role of an appeals court in reviewing the issuance of a
             wiretap order, furthermore, “is not to make a de novo
             determination of sufficiency as if it were a district judge, but
             to decide if the facts set forth in the application were
             minimally adequate to support the determination that was
             made.” United States v. Scibelli, 549 F.2d 222, 226 (1st Cir.)
             (collecting cases), cert. denied, 431 U.S. 960, 97 S.Ct. 2687,
             53 L.Ed.2d 278 (1977). And, as the Scibelli court went on to
             say:

                 [I]n determining the sufficiency of the application a
                 reviewing court must test it in a practical and common
                 sense manner. The legislative history makes clear
                 that section 2518(1)(c) is not designed to force the
                 Government to have exhausted all “other investigative
                 procedures”.

                    “The judgment [of the district judge] would
                    involve a consideration of all the facts and
                    circumstances. Normal investigative
                    procedure would include, for example,
                    standard visual or aural surveillance
                    techniques by law enforcement officers,
                    general questioning or interrogation under an
                    immunity grant, use of regular search warrants,
                    and the infiltration of conspiratorial groups by
                    undercover agents or informants. Merely
                    because a normal investigative technique is
                    theoretically possible, it does not follow that it
                    is likely. What the provision envisions is that
                    the showing be tested in a practical and
                    commonsense fashion.

                 S.Rep. No. 1097, 90th Cong., 2d Sess., 1968
                 U.S.Code Cong. & Admin.News, p. 2190 (citations
                 omitted).

             Scibelli, 549 F.2d at 226.

Id. at 231-232 (brackets included); See also United States v. Diaz, 176 F.3d 52, 111

(2d Cir.), cert. denied sub nom Rivera v. United States, 528 U.S. 875 (1999).

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               As in Torres, the defendant’s claim that traditional law enforcement

methods had already achieved extraordinary success in penetrating the conspiracy is

unpersuasive. 901 F.2d at 231. Giving proper deference to Judge Skretny’s review and

acceptance of the affidavit of Special Agent Reynolds sworn to December 8, 2008 in

support of the application for the Intercept Orders and his decision to grant said

applications and issue the orders in question, it is concluded that Judge Skretny

“properly found that conventional investigative techniques had been exhausted and that

alternatives to wire interception would be unlikely to succeed or would be too

dangerous.” Diaz, 176 F.3d at 111. Therefore, it is recommended that defendant’s

motion to suppress based on this claim be denied.



Minimization

               The defendant argues that the government failed to properly minimize

non-pertinent conversations. Dkt. #102, p.33. More specifically, the defendant argues

that

               From the government’s own statistics we see that the
               overwhelming number of conversations overheard by the
               agents were deemed to be non-pertinent. Yet the
               government’s agents listened to virtually every conversation,
               every conversation in its entirety, some 1735 conversations.

Dkt. #102, p.41.



               The government responds that the vast majority of calls intercepted were

less than two minutes long and that the vast majority of non-pertinent calls exceeding

two minutes were minimized. Dkt. #122, p.24.


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             18 U.S.C. § 2518(5) provides that the “authorization to intercept . . . shall

be conducted in such a way as to minimize the interception of communications not

otherwise subject to interception under this chapter. . . .” In addressing this complex

concept of “minimization,” the United States Supreme Court has held that:

             The statute does not forbid the interception of all
             nonrelevant conversations, but rather instructs the agents to
             conduct the surveillance in such a manner as to “minimize”
             the interception of such conversations. Whether the agents
             have in fact conducted the wiretap in such a manner will
             depend on the facts and circumstances of each case.

             We agree with the Court of Appeals that blind reliance on
             the percentage of nonpertinent calls intercepted is not a sure
             guide to the correct answer. Such percentages may provide
             assistance, but there are surely cases, such as the one at
             bar, where the percentage of nonpertinent calls is relatively
             high and yet their interception was still reasonable. The
             reasons for this may be many. Many of the nonpertinent
             calls may have been very short. Others may have been
             one-time only calls. Still other calls may have been
             ambiguous in nature or apparently involved guarded or
             coded language. In all these circumstances agents can
             hardly be expected to know that the calls are not pertinent
             prior to their termination.

             In determining whether the agents properly minimized, it is
             also important to consider the circumstances of the wiretap.
             For example, when the investigation is focusing on what is
             thought to be a widespread conspiracy more extensive
             surveillance may be justified in an attempt to determine the
             precise scope of the enterprise. And it is possible that many
             more of the conversations will be permissibly interceptable
             because they will involve one or more of the co-conspirators.
             ...

             Other factors may also play a significant part in a particular
             case. For example, it may be important to determine at
             exactly what point during the authorized period the
             interception was made. During the early stages of
             surveillance the agents may be forced to intercept all calls to
             establish categories of nonpertinent calls which will not be

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             intercepted thereafter. Interception of those same types of
             calls might be unreasonable later on, however, once the
             nonpertinent categories have been established and it is
             clear that this particular conversation is of that type. Other
             situations may arise where patterns of nonpertinent calls do
             not appear. In these circumstances it may not be
             unreasonable to intercept almost every short conversation
             because the determination of relevancy cannot be made
             before the call is completed.

Scott v. United States, 436 U.S. 128, 140-141 (1978); see also United States v.

Principe, 531 F.2d 1132, 1140 (2d Cir.), cert. denied 430 U.S. 905 (1976).



             In the instant case, accepting the government’s assertion that the target

telephone was utilized by Glance Ross as sufficient to establish standing to challenge

minimization, the Court finds no basis to believe that the intercepted calls were not

properly minimized. For example, on one ten day report, only 19 of 916 calls exceeded

two minutes and 8 of those call were deemed pertinent. Dkt. #102-5, p.2. On another

ten day report, only 15 of 653 intercepted calls exceeded two minutes, with six of those

deemed pertinent and one of them minimized. Dkt. #102-5, p.4. On a third ten day

report, only 9 of 505 intercepted calls exceeded two minutes, with 4 of those deemed

pertinent and one of them minimized. Dkt. #102-5, p.6. As this evidence does not

suggest that a substantial number of non-pertinent calls were intercepted unreasonably,

it is recommended that defendant’s motion to suppress be denied.



             Therefore, it is hereby



              ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:

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               This Report, Recommendation and Order be filed with the Clerk of Court.



               ANY OBJECTIONS to this Report, Recommendation and Order must be

 filed with the Clerk of Court within fourteen (14) days after receipt of a copy of this

 Report, Recommendation and Order in accordance with the above statute,

 Fed.R.Crim.P. 58(g)(2) and Local Rule 58.2.



               The district judge will ordinarily refuse to consider de novo, arguments,

 case law and/or evidentiary material which could have been, but were not presented to

 the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

 Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988).

 Failure to file objections within the specified time or to request an extension of

 such time waives the right to appeal the District Judge's Order. Thomas v. Arn,

 474 U.S. 140 (1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir.

 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Report,



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Recommendation and Order), may result in the District Judge's refusal to

consider the objection.



            SO ORDERED.


DATED:      Buffalo, New York
            December 14, 2010


                                      s/ H. Kenneth Schroeder, Jr.
                                     H. KENNETH SCHROEDER, JR.
                                     United States Magistrate Judge




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